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                  IN THE UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF ARKANSAS
                             DELTA DIVISION

ELIZABETH CROUCH, individually and as
SPECIAL ADMINISTRATRIX OF THE ESTATE
OF THOMAS DANIEL CROUCH, DECEASED                                     PLAINTIFF

V.                          CASE NO. 2:20CV-0078 KGB

MASTER WOODCRAFT CABINETRY, L.L.C.
AND WALTER EARL HICKS                                             DEFENDANTS

         BRIEF IN SUPPORT OF MOTION IN LIMINE TO EXCLUDE
                OPINIONS OF RALPH SCOTT, JR., PH.D.

      Come defendants, Master Woodcraft Cabinetry, L.L.C. and Walter Earl

Hicks, by and through counsel, Barber Law Firm PLLC, and for their Brief in

Support of Motion to Exclude Opinions of Ralph Scott, Jr., Ph.D., state:

      I. INTRODUCTION

      Plaintiff identified an economist, Ralph Scott, Jr., Ph.D., as an expert

witness in this matter and has produced two slightly different reports

generated by Dr. Scott. The report attached as Exhibit A, which is entitled

“Loss of Life” contains a section entitled Residual Value of Life in Excess of

Earning Capacity. Meanwhile, the report attached as Exhibit B contains a

section entitled “Loss of Life.” However, each of the aforementioned sections are

identical and do not contain a single opinion held by Dr. Scott.      Rather, he

simply presents studies performed by the Department of Transportation and

the Environmental Protection Agency – although neither had anything to do

with the value of a human life, much less the value of Thomas Crouch’s life;


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      On February 1, 2021, defense counsel deposed Dr. Scott. During the

course of his deposition, Dr. Scott confirmed he did not know Mr. Crouch and

that he did not know what Mr. Crouch calculated his life to be worth. He also

confirmed that the two studies he cited were done as a cost benefit analysis -

meaning whether it was cost effective for the federal government to undertake

certain infrastructure repair/improvement projects. Finally, he confirmed that

the information he would present to the jury regarding the “Residual Value of

Life” are not even opinions he holds, but simply a baseline to present to the

jury simply based upon aggregate national numbers that are not specific to Mr.

Crouch.

      Dr. Scott is a qualified expert in the economic field, but the above-

referenced opinions offered are unreliable, are not based on the evidence of this

case, and are wholly speculative. As such, these opinions fail to comply with

Rules 702 and 703 of the Federal Rules of Evidence and well-established

Arkansas and Federal case law. Moreover, his opinions are entirely contrary to

Arkansas law, including prior holdings of the Arkansas Supreme Court, as to

what “loss of life” damages constitute under Ark. Code Ann. 16-62-102. If Dr.

Scott were allowed to testify on these topics at trial, the jury would be misled

into believing Dr. Scott is offering qualified expert testimony, which would

unduly prejudice defendant. Therefore, this Motion should be granted by this

Court, with the testimony/opinions of Dr. Scott concerning “Residual Value of

Life” and/or “Loss of Life” being excluded from the trial.


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      II. APPLICABLE STANDARD FOR ADMISSIBILITY

      Plaintiff bears the burden of proving the admissibility of her expert’s

testimony. In determining whether plaintiff has met her burden, the trial judge

must determine whether the testimony has “a reliable basis in the knowledge

and experience of [the relevant] discipline.” Daubert v. Merrell Dow Pharm.,

Inc. (Daubert I), 509 U.S. 579, 592 (1993); see Farm Bureau Mut. Ins. Co. v.

Foote, 341 Ark. 105, 115 (2000) (“This court has not previously adopted the

holding in Daubert. We do so now”). In Daubert I, the Supreme Court of the

United States construed Rule 702 to impose on federal courts the gatekeeping

role of ensuring “that any and all scientific testimony or evidence admitted is

not only relevant, but reliable.” In performing its duty as “gatekeeper,” the trial

judge must determine whether or not the underlying proposed expert testimony

is scientifically valid, amounts to “scientific knowledge,” constitutes “good

science,” and is “derived by the scientific method.” Daubert v. Merrell Dow

Pharm., Inc. (Daubert II), 43 F.3d 1311, 1315 (9th Cir. 1995). In addition to

meeting the Daubert standard, any proffered expert opinion must assist the

trier of fact in understanding the evidence or in determining a fact in issue.

      Daubert held that courts should consider five criteria when determining

the admissibility of expert testimony: (1) whether the proffered knowledge can

be or has been tested; (2) whether the theory or technique has been subjected

to peer review and publication; (3) the known or potential rate of error; (4) the

existence and maintenance of standards controlling the technique’s operation;

and (5) whether the theory or technique has gained general acceptance in the


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relevant scientific community. See Daubert I, 509 U.S. at 592- 94; Green v.

George’s Farms, Inc., 378 S.W.3d 715, 718 (Ark. 2011). A trial court should

make findings on each of the relevant factors concerning whether expert

testimony is scientifically reliable in order to properly exercise its discretion.

See Kumho Tire Co., Ltd. v. Carmichael, 526 U.S. 137, 159 (1999) (Scalia,

J., concurring) (“[I]n a particular case[,] the failure to apply one or another of

[the Daubert factors] may be unreasonable, and hence an abuse of

discretion.”).

      The rationale behind the Daubert standard is to ensure that an expert

employs in the courtroom the same level of intellectual rigor that characterizes

the practice of an expert in the relevant field. See Kumho Tire Co., 526 U.S. at

152. Its overarching subject is the scientific validity—and thus the evidentiary

relevance   and   reliability—of   the   principles   that   underlie   a   proposed

submission. The focus, of course, must be solely on                 principles and

methodology, not on the conclusions that they generate. See Daubert I, 509

U.S. at 594-95.

      III. ARGUMENT

      Dr. Scott should be precluded from offering testimony at the trial of this

matter concerning the purported “residual value of life” and/or “loss of life” due

to the fact his opinions on this subject are unreliable. There is no question

that Dr. Scott has more than adequate qualifications to provide expert

economic testimony. After all, Dr. Scott has been an economics professor at

Hendrix University, in Conway, Arkansas, for many years and holds a Ph.D. in


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that line of study.    Nevertheless, simply because Dr. Scott is adequately

qualified to testify as an expert in the economic field does not mean that all the

opinions he shared in this matter are sufficiently reliable to be admitted before

the jury.

        Regarding the purported loss of life damages sustained by the Estate of

Mr. Crouch, Dr. Scott opined in his deposition that the residual value of life” is

a “starting point” of sorts for the jury to determine damages for the decedent’s

loss of life.   Dr. Scott bases his opinions on reports published by the

Department of Transportation (“DOT”) and the Environmental Protection

Agency (“EPA”).      The studies conducted by these government agencies,

according to Dr. Scott, are cost/benefit analysis comparing what an

individual/entity is willing to pay for risk reduction.     Specifically, it is Dr.

Scott’s opinion these studies look at what an average person would pay to

reduce the risk of death.     Dr. Scott considers this to be a “value of life”

analysis, which he then calls “statistical value of life.” This position has been

formulated by Dr. Scott despite the fact that the DOT study expressly notes:

“What is involved is not the valuation of life as such, but the valuation of

reductions and risks.” See Exhibit “A,” DOT, Revised Departmental Guidance

2014.    Dr. Scott concedes the EPA study also acknowledges it, too, is not

designed to formulate a value of life. Nevertheless, he continues to take the

position that the studies do, contrary to their own statements, provide a

statistical value of life. Such opinions by Dr. Scott should be excluded from

trial as unreliable, lacking in evidentiary support, and misleading to the jury.


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      This state’s statutes provide that “a decedent’s estate may recover for the

decedent’s loss of life as an independent element of damages.” Ark. Code Ann.

§16-62-101(b).     These “loss of life damages” have been interpreted as being

those that would “compensate a decedent for the loss of the value that the

decedent would have placed on his or her own life.”       Williamson v. Baptist

Health Med. Ctr., 2016 Ark.App. 79, *4 (citing One Nat’l Bank v. Pope, 372 Ark.

208, 272 S.W.3d 98 (Ark. 2008); Durham v. Marberry, 356 Ark. 481, 156

S.W.3d 242 (Ark. 2004)). However, it has equally been recognized that loss of

life damages are not the same as damages for loss of enjoyment of life, even

though both are hedonic.      See Durham, at 489, 156 S.W.3d at 246.         The

Arkansas Supreme Court has not expressly held expert testimony concerning

hedonic loss of life damages to be improper, but it has noted: “No rule has been

established - and in the nature of things none can be - for determining what

compensation should be paid for loss of life…” Id. at 493, 156 S.W.3d at 249

(quoting Clark & Sons v. Elliott, 251 Ark. 853, 857, 475 S.W.2d 514, 517 (Ark.

1972)).

      The United States District Court for the Eastern District of Arkansas

importantly took up the issue of whether expert testimony on loss of life

damages is appropriate in the case of McMullin v. United States, 515 F.Supp.2d

914 (E.D. Ark. 2007). In interpreting Arkansas law, that the Court agreed with

the state Supreme Court that loss of life damages are those damages that

would compensate a decedent for the value the decedent would have placed on

his/her own life. Id. at 921. The Court then attempted to determine how such

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damages should be calculated, evaluating an Arkansas Law Review article on

the subject:

      It appears that only Connecticut, Hawaii, New Hampshire, New
      Mexico and Arkansas allow for the recovery by the decedent’s
      estate of loss-of-life damages incurred after death. [Ali M. Brady,
      Note, The Measure of Life: Determining the Value of Lost Years after
      Durham v. Marberry, 59 Ark. L. Rev. 125 n.4 (2006)].            The
      Arkansas Law Review note analyzes various methods of proving
      and measuring such damages and explains why the author
      believes that Arkansas should adopt the Connecticut approach. Id.
      at 142-45. First, it is recognized that the Arkansas Supreme
      Court’s Durham opinion appears to adopt a purely subjective
      standard. …
      …

      The note then deals with the issue of the use of expert witnesses to
      support that approach and concludes that none would meet the
      Daubert test. This Court agrees with Ms. Brady’s Daubert analysis.
      In particular, the Court agrees that the expert opinions offered
      could not be tested because they are “attempting to quantify
      something which cannot truly be determined: what is the
      value of a human life?” Id. at 138 (citing Estate of
      Sinthasomphone v. City of Milwaukee, 878 F.Supp. 147, 152 (E.D.
      Wis. 1995).      Stated otherwise, the law does not provide the
      standard as to which an expert could apply his/her expertise.
      Under such circumstances the expert becomes the “<13th>
      juror.” The Court also notes that such expert testimony by
      different experts “using the same methodology come up with
      drastically different values for the statistically average life…from as
      low as $0 to as high as $15 million. Id. at 138-39 (internal
      quotations omitted).

Id. at 923-925 (emphasis added).       Dissimilar from expert calculations, the

Court recognized that appropriate factors for a jury to consider for loss of life

include the decedent’s family support, loving relationships, and loving home.

Id. at 928.




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      The McMullin decision was cited with approval by the Arkansas Supreme

Court in the case of One Nat’l Bank v. Pope, supra.            The Court was not

presented with the issue of whether expert testimony could be properly given

for loss of life damages, but it did agree with the McMullin court that such

damages could be shown with evidence similar to that used for loss of

enjoyment of life damages. Id. at 214, 272 S.W.3d at 102. It then found that

evidence    of   a   decedent’s    familial    relationship,   employment,      and

activities/hobbies constituted evidence of loss of life damages. Id. at 214-215,

272 S.W.3d at 103.

      Further in-line with the McMullin logic, other jurisdictions have expressly

refused to permit an expert witness to place a specific value on a decedent’s

life. See, e.g., Smith v. Dorchester Real Estate, Inc., 732 F.3d 51 (1st Cir. 2013);

Anderson v. Nebraska Dept. of Social Services, 538 N.W.2d 732 (Neb. 1995).

The Seventh Circuit Court of Appeals in particular, in the case of Mercado v.

Ahmed, 974 F.2d 863 (7th Cir. 1992), was presented with a situation almost

identical to that at issue in the litigation at hand. Therein, the Court stated:

      On appeal, the plaintiff attacks the reasoning of the trial judge
      directly, asserting that [plaintiff’s expert] should have been given
      the “opportunity to supplant the jurors’ own knowledge as to
      the value of life…” [] This frames the issue precisely: does
      [plaintiff’s expert], supported by his extensive willingness-to-
      pay research, know better than the average juror how much life is
      worth?

      As we noted above, the district judge did not believe that [plaintiff’s
      expert] offered the jury any “expertise” because (1) no consensus
      among experts supported [plaintiff’s expert’s] method of valuing life
      and (2) [plaintiff’s expert’s] research was no more than a
      compilation of the opinions, expressed through spending decisions,


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        of a large number of Americans as to the value of life. The first
        criticism is irrefutable: the plaintiff could point to no expert
        consensus supporting [plaintiff’s expert’s] methodology.     The
        second criticism is also on the mark, since [plaintiff’s expert]
        concedes that his method relies on arriving at a valuation of life
        based on analyzing the behavior of non-experts.
        …


        …we can say with confidence that the district court’s decision to
        bar [plaintiff’s expert’s] testimony was not reversible error.
        [Plaintiff’s expert] has taken up a daunting task: to develop a
        methodology capable of producing specialized knowledge to assist
        jurors in determining the monetary value of being alive. The
        district court ruled that, despite [plaintiff’s expert’s] training,
        extensive research and countless calculations, his testimony
        would not aid the jury in evaluating the evidence and
        arriving at its verdict (the true test of expert testimony under
        Fed. R. Evid. 702) because [plaintiff’s expert] was no more
        expert in valuing life than the average person.                This
        conclusion may be less a reflection of the flaws in [plaintiff’s
        expert’s] methodology than on the impossibility of any person
        achieving unique knowledge of the value of life.

Id. at 870-871 (emphasis added) (internal citations omitted).       Similarly, in

Montalvo v. Lapez, 884 P.2d 345 (Haw. 1994), the Supreme Court of Hawaii

held:

        The measurement of the joy of life is intangible. A jury may draw
        upon its own life experiences in attempting to put a monetary
        figure on the pleasure of living.       It is “a uniquely human
        endeavor… requiring the trier of fact to draw upon the virtually
        unlimited factors unique to us as human beings.” [] Testimony of
        an economist would not aid the jury in making such
        measurements because an economist is no more expert at
        valuing the pleasure of life than the average juror. “The loss
        of enjoyment of life resulting from a permanent injury is… not
        subject to an economic calculation.” []

Id. at 303 (emphasis added) (internal citations omitted). As such, the majority

approach taken nationwide is that loss of life and/or loss of enjoyment of life



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damages are simply too subjective to permit for an expert to place a hard value

on life.

       Despite the above case law decisions and, in particular despite the

express Arkansas Supreme Court holding of what loss of life damages

constitute, Dr. Scott still opines loss of life damages mean “value of life.” Dr.

Scott does not have some innate knowledge which permits him to know the

value a decedent placed on his/her own life. He specifically has no information

as to the value Thomas placed on his own life. Dr. Scott did not know Crouch,

had never met Crouch, and does not have any insight regarding Crouch’s

personal life, work life, family life, or any other aspect of his life highlighted by

the courts above as being proper evidence of loss of life damages.

       The opinions Dr. Scott intends to provide to the jury at the trial of this

cause as to the purported “residual value of life” of Thomas Crouch’s life are

plainly based on governmental cost/benefit analyses related to cost-vs-fatality

reduction spending and are not at all relevant to Thomas Crouch’s own life

valuation. This is entirely contrary to the controlling case law analyzed herein.

See Williamson v. Baptist Health Med. Ctr., supra.; One Nat’l Bank v. Pope,

supra.; Durham v. Marberry, supra. Dr. Scott’s anticipated testimony is

irrelevant as to this issue; is unreliable based on its lack of connection to

Thomas Crouch’s life; is un-testable due to the lack of consensus among

experts on the subject; and is misleading since it is not formulated in the

manner required by Rule 702 of the Arkansas Rules of Evidence.




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      WHEREFORE, defendants, Master Woodcraft Cabinetry, L.L.C. and

Walter Earl Hicks, pray that their Motion to Exclude Opinions of Ralph Scott,

Jr., Ph.D. be granted, that Dr. Scott be precluded from offering any opinions

regarding “residual value of life” and/or “loss of life” at the trial of this case,

and for all other just and proper relief to which they may be entitled.

                               Respectfully submitted,

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